           Case 3:22-cr-00099-MO          Document 1-1       Filed 02/18/22     Page 1 of 6
3:22-mj-00027


  DISTRICT OF OREGON, ss:                AFFIDAVIT OF GRAHAM BOGUMILL

                               Affidavit in Support of an Application
                               Under Rule 41 for a Search Warrant

         I, Graham Bogumill, being duly sworn, do hereby depose and state as follows:

                             Introduction and Agent Background

         1.      I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms, and

  Explosives, and have been since October 2019. My current assignment is to the Portland,

  Oregon Field Office. My training includes twenty-seven (27) weeks of Criminal Investigator

  and ATF Special Agent Basic Training at the Federal Law Enforcement Training Center in

  Glynco, Georgia. I have participated in investigations involving firearms trafficking, National

  Firearms Act violations, unlawful firearms possession, and the illegal narcotic trade, which often

  involves firearms. I have participated in investigations involving complex criminal

  organizations and gangs which often involve the illegal use and possession of firearms. I have

  participated in investigations where the use of computers, smart phones, digital media, and the

  internet have been used in furtherance of crimes related to the illegal possession / trafficking of

  firearms and illegal narcotics.

         2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

  Tyler Ray Harnden with Date of Birth (DOB): XX/XX/1992 (hereinafter “Harnden”).             As set

  forth below, there is probable cause to believe that Harnden was unlawfully in possession of a

  firearm and ammunition after having been previously convicted of a crime punishable by

  imprisonment for a term exceeding one year, in violation of 18 U.S.C. § 922(g)(1).




  Affidavit of Graham Bogumill                                                                 Page 1
         Case 3:22-cr-00099-MO         Document 1-1       Filed 02/18/22    Page 2 of 6




                                        Applicable Law

       3.      Title 18 U.S.C. § 922(g)(1) makes it unlawful for someone who has been

convicted in any court of a crime punishable by imprisonment for a term exceeding one year to

possess any firearm or ammunition which has been shipped or transported in interstate or foreign

commerce.

                                 Statement of Probable Cause

       4.      On February 14, 2022, I applied for and received federal search warrants for Tyler

Harnden and his residence located at 280 Owens St. S. Salem, Oregon 97302. The search

warrants were based upon probable cause that the defendant possessed evidence related to his

distribution of counterfeit oxycontin pills manufactured with fentanyl and his illegal possession

and manufacture of firearms. Agents learned that Harnden lived at 280 Owens St. S. Salem,

Oregon 97302, along with his mother. Harden lived in the basement of the premises and his

mother lived on the first floor. The search warrants were authorized by the Honorable John

Acosta, United States Magistrate Judge for the District of Oregon.

       5.      On February 16, 2022, at approximately 1:40 P.M., ATF Special Agents arrested

Harnden, less than a mile away from his residence, and took him into custody for the

aforementioned violations of federal law.

       6.      On February 16, 2022, after Harnden was arrested, ATF Special Agents and

Salem Police Department Officers executed the search warrant at Harnden’s residence located

at 280 Owens St. S. Salem, Oregon 97302. During the search ATF sound and seized the

following items from the basement, where Harnden was living:

               •      A Glock, model 42, .380 caliber pistol with serial number AFZX899; and,


Affidavit of Graham Bogumill                                                               Page 2
        Case 3:22-cr-00099-MO           Document 1-1     Filed 02/18/22     Page 3 of 6




              •       A Canik, model TP9 SF, 9mm caliber pistol with serial number

                      20AT35004.

       7.     The Canik and Glock pistols were both located inside a safe in Harnden’s

bedroom. The safe was located next to Harnden’s bed. Harnden’s mother identified this

room as her son’s bedroom and the place where he lives. Inside the basement bedroom agents

also discovered items of clothing indicating that this was Harnden’s bedroom, as well as mail

with Harnden’s name on it and a package of firearm parts that was addressed to Harnden.

       8.     Inside the basement agents also discovered evidence that indicated that Harnden

was manufacturing and selling firearms. Inside the basement agents found:

              •       Three (3) completed Privately Made Firearm (PMF) rifles, commonly

                      referred to as “Ghost Guns”;

              •       Thousands of rounds of various ammunition;

              •       Thirteen (13) lower receivers for rifles in various stages of completion;

              •       Two (2) pistol frames;

              •       Approximately 15 high-capacity magazines for various calibers of

                      ammunition, some of which were already loaded;

              •       Three (3) drill presses and an assortment of firearm manufacturing

                      equipment; and,

              •       Approximately 200 counterfeit blue M30 oxycontin pills, believed to be

                      manufactured with fentanyl, and a small quantity of suspected heroin.

              Several pictures displaying items seized from the residence are pictured below.

///


Affidavit of Graham Bogumill                                                               Page 3
        Case 3:22-cr-00099-MO      Document 1-1      Filed 02/18/22    Page 4 of 6




      9.     On February 17, 2022, I consulted with an ATF Interstate Nexus expert about the

Canik and Glock pistols recovered from Harnden’s bedroom. The Nexus expert informed me

Affidavit of Graham Bogumill                                                         Page 4
         Case 3:22-cr-00099-MO          Document 1-1      Filed 02/18/22    Page 5 of 6




that the recovered firearms, the Glock, model 42 and Canik, model TP9, were not manufactured

in the state of Oregon, and thus had traveled in interstate and/or foreign commerce prior to

arriving here.

       10.       I have looked at some of the thousands of rounds of ammunition that were seized

from the basement where Harnden was living and observed multiple boxes of various different

brands of ammunition to include Federal, Remington, PMC, Winchester, and Red Army

Standard ammunition. I know, for example, PMC ammunition not manufactured in the state of

Oregon and the Red Army Standard boxes are stamped “made in Russia.” A picture of some of

the ammunition is below:




Affidavit of Graham Bogumill                                                               Page 5
         Case 3:22-cr-00099-MO           Document 1-1     Filed 02/18/22     Page 6 of 6




       11.     I also know that Harnden, based upon reviewing his computerized criminal

history, was convicted in 2015 of the felony crime of Unlawful Delivery of Heroin, in Marion

County, Oregon, Circuit Court Case Number 15CR07787, and that he received a sentence of 24

months’ imprisonment.

                                            Conclusion

       12.     Based on the foregoing, I have probable cause to believe, and I do believe, that

Harnden is a felon who is unlawfully in possession of firearms and ammunition, in violation of

18 U.S.C. § 922(g)(1). I therefore request that the Court issue a criminal complaint and arrest

warrant for Tyler Ray Harnden.

       13.     Prior to being submitted to the Court, this affidavit, the accompanying complaint,

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Scott

Kerin, and AUSA Kerin advised me that in his opinion the affidavit and complaint are legally

and factually sufficient to establish probable cause to support the issuance of the requested

criminal complaint and arrest warrant.


                                                     By phone pursuant to Fed R. Crim. P. 4.1 (JVA)
                                                     Graham Bogumill
                                                     Special Agent, ATF


       Sworn in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone at

5:08 p.m. on February ____,
__________            18 2022.



                                                                                JVA
                                                     ________________________________
                                                     HONORABLE JOHN V. ACOSTA
                                                     United States Magistrate Judge


Affidavit of Graham Bogumill                                                                Page 6
